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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


 YANCY CUMMINGS, et al.,                            Case No. 15-cv-04723-VC
                Plaintiffs,
                                                    ORDER GRANTING MOTION TO SET
         v.                                         ASIDE ENTRY OF DEFAULT AND
                                                    DEFAULT JUDGMENT
 MARY E. BRANTLEY HALE, et al.,
                                                    Re: Dkt. No. 97
                Defendants.



       The motion to set aside the entry of default and the default judgment is granted.

       1. Three factors are relevant when assessing whether to set aside an entry of default and a

default judgment: "(1) whether the plaintiff will be prejudiced, (2) whether the defendant has a

meritorious defense, and (3) whether culpable conduct of the defendant led to the default."

Brandt v. Am. Bankers Ins. Co. of Fla., 653 F.3d 1108, 1111 (9th Cir. 2011) (quoting Falk v.

Allen, 739 F.2d 461, 463 (9th Cir. 1984)). "[J]udgment by default is a drastic step appropriate
only in extreme circumstances; a case should, whenever possible, be decided on the merits."

Falk, 739 F.2d at 463. To receive relief, the movant must have filed her motion within a

reasonable time. Fed. R. Civ. P. 60(c)(1).

       Brantley Hale has filed her motion within a reasonable time, given that she apparently

first learned of the suit in or around November 2017. See Dkt. No. 98-1, Hain Decl. ¶¶ 11-12.

And all three factors weigh in favor of setting aside the default judgment. First, there is no

indication that Cummings' "ability to pursue h[er] claim will be hindered." Falk, 739 F.2d at

463; see also TCI Group Life Ins. Plan v. Knoebber, 244 F.3d 691, 701 (9th Cir. 2001). Second,
Brantley Hale has provided declarations stating facts "that, if true, would constitute a defense" to
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a number of Cummings' claims. United States v. Signed Personal Check No. 730 of Yubran S.

Mesle, 615 F.3d 1085, 1094 (9th Cir. 2010). These claims include, at a minimum, Cummings'

claims under California Civil Code sections 1942.4 and 1950.5(l), her claim under the Unfair

Competition Law, and her claim under San Francisco Administrative Code section 37.10B. See

Dkt. No. 97-2, Wheatley Decl. ¶¶ 8-16; Dkt. No. 97-3, Martinez Decl. ¶¶ 6-13. Third, Brantley

Hale has provided evidence that she did not receive actual notice of the lawsuit, and that since

suffering a serious heart attack in 2013, she has been living with family in various locations

around the country. Dkt. No. 97-1, Brantley Hale Decl. ¶¶ 3-4, 7. This is not culpable conduct.

See Falk, 739 F.2d at 464; Knoebber, 244 F.3d at 697.

       2. When setting aside an entry of default and default judgment, the Court can impose

conditions to prevent injustice. See Falk, 739 F.2d at 463; see also Brandt, 653 F.3d at 1110 n.1.

Here, given that one of Brantley Hale's daughters who was actively involved in managing the

property at issue had at least some knowledge of the suit before default occurred, reopening of

the case is conditioned on compensating Cummings $3500.00 for out-of-pocket costs spent on

service by publication and executing the judgment.

       3. A case management conference is set for June 21, 2018 at 2:00 p.m. The parties must

submit a case management statement by June 14, 2018. The clerk of the court is directed to

reopen the case.
       IT IS SO ORDERED.

Dated: May 23, 2018
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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